        Case 3:20-cv-00511-MCC Document 50 Filed 10/19/21 Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SHANTA PIZARRO,                              :      Civil No. 3:20-CV-00511
                                             :
      Plaintiff,                             :
                                             :
             v.                              :      (Magistrate Judge Carlson)
                                             :
JOHN E. WETZEL, et al.,                      :
                                             :
      Defendants.                            :

                                     ORDER


      AND NOW, this 19th day of October 2021, for the reasons set forth in the

accompanying Memorandum Opinion, IT IS ORDERED that the defendants’

motion for summary judgment (Doc. 42), is GRANTED with respect to the

plaintiff’s Fourteenth Amendment claim and the Fourth Amendment claim

concerning the cell phone search, but DENIED with respect to the Fourth

Amendment strip search claim. IT IS FURTHER ORDERED that the parties shall

consult, confer and prepare a supplemental case management plan addressing

pretrial scheduling in this case as well as notifying the court regarding whether the

parties wish to engage in settlement discussions. This supplemental case

management plan shall be filed on or before November 9, 2021, and a telephonic

case management conference will be scheduled for November 12, 2021 at 1:00 p.m.
       Case 3:20-cv-00511-MCC Document 50 Filed 10/19/21 Page 2 of 2




The parties will be provided call-in information for this conference prior to

November 12, 2021.



                                         S/Martin C. Carlson
                                         Martin C. Carlson
                                         United States Magistrate Judge
